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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

SOCIAL POSITIONING INPUT              §
SYSTEMS, LLC,                         §
                                      §
      Plaintiff,                      §              Case No: 6:21-cv-01144-ADA
                                      §
vs.                                   §              PATENT CASE
                                      §
MANNING NAVCOMP, INC.,                §              JURY TRIAL DEMANDED
                                      §
      Defendant.                      §
_____________________________________ §

            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Plaintiff Social Positioning Input Systems, LLC (“Plaintiff” and/or “SPIS”) files this

Notice of Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff

without order of court by filing a notice of dismissal at any time before service by the adverse

party of an answer. Accordingly, Plaintiff hereby voluntarily dismisses this action against Manning

NavComp, Inc. without prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own

fees and costs.




NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE                                            |1
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Dated: January 13, 2022.                Respectfully submitted,


                                        /s/ Jay Johnson
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                                        D. BRADLEY KIZZIA
                                        State Bar No. 11547550
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                                        ATTORNEYS FOR PLAINTIFF

                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing document was filed electronically on
January 13, 2022, and was served via CM/ECF on all counsel who are deemed to have consented
to electronic service.

                                        /s/ Jay Johnson
                                        JAY JOHNSON




NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE                                          |2
